       Case 5:15-cr-00093-JGB Document 155 Filed 05/22/19 Page 1 of 1 Page ID #:1064
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                                     UNITED STATES DISTRICf COURT
                                    CENTRAL DISTRICf OF CALIFORNIA
UNITED STATES OF AMERICA                                   CASJ! NUMBJ!R;

                                           PLAINTIFII(S)
                                                                            5;15-cr-O(M)93-J<iB
                          v.
ENRIQUE MARQUEZ. Jr.                                                 NOTICE OF MANUAL FILING
                                                                           OR LODGING

PLEASE TAKE NOTICE:
       Pursuant to Local Rule 54.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually ~ Filed ~ Lodged: (IJst Documents)
Defendant's notice of motion and motion to withdraw plea. Exhibit "B"
Ex parte application and proposed order to file exhibit under seal




Reason:
0     UnderSea!
D      1nCamera
0      Items not conducive to e-flling (i.e., videotapes, CDROM, large graphic charts)
D      Per Court order dated:
D      Other:




May 24,2019                                                  JOHN N. AQUILINA
Date                                                         Attorney Name
                                                             Defendant, ENRIQUE MARQUEZ, Jr.
                                                             Party Represented


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